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From:                   Gregory V. Demo
To:                     Michael Lynn; Michael Lynn; Bryan Assink
Cc:                     Jeff Pomerantz; Ira Kharasch; John A. Morris; Hayley R. Winograd
Subject:                Highland - Letter & Discovery Requests
Date:                   Wednesday, December 23, 2020 10:19:06 PM
Attachments:            Letter to D.M. Lynn - 12.23.20.pdf
                        DOCS_NY-#41817-v3-Document_Requests_Dondero.pdf
                        DOCS_NY-#41819-v3-Depo_Notice_Dondero.pdf


Dear Judge Lynn,

Please see attached letter and discovery requests.

Best,
Greg
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